Case 2:05-cr-20056-SH|\/| Document 143 Filed 09/01/05 Page 1 of 2 Page|D 1114f

 

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FOR THE
WESTERN DISTRICT 0F TENNESSEE was SEP ,\ m \0= 113

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CR. No. 05_25@3°§ Ma*`r¥$

  

UNITED STATES OF AMERICA

VS.

\-/\_V\-V\_/W

AARON COBB,
APPLICATION. ORDER and WRIT FOR HABEAS CORPUS Al) PROSEOUENDUM
Thomas A. Colthurst applies to the Court for a Writ to have AARON COBB, DOB 09/11/1974,
SS# XXX-XX-XXXX now being detained in the Shelby County Jail, appear before the Honorable
Tu M. Pham on M, September, 2005, at 9:30 for an Initial Appearance and for such other
appearances as this Court may direct.

Respectfully submitted this lst day of September, 2005.

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h¢HHas&MColthurst
Assistant U. S. Attorney

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Upon consideration of the foregoing Applieation,
I)Avu) JOLLEY, U.S. MARSHAL, WESTERN DISTRlCT 0F TENNESSEE, MEMPHlS, TN
sHERIFF/wARDEN, Mark Luttrell
YOU ARE HEREBY COMMANDE:) to have AARON COBB, appear before the Honorable Tu M.

Pham at the date and time aforementioned

ENTERED this /ST day of W , 2005.
/@,wvw 5 @M///'

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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with Rnfe 55 and/or 321b))FHCrP on "'O/

 

 

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This notice confirms a copy of the document docketed as number 143 in
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Septernber 15, 2005 to the parties listed.

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

